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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  Miguel Morales,

                  Plaintiff,
                                                     JURY TRIAL DEMANDED
            v.

 City of Chicago, John Halloran, Kenneth
 Boudreau, James O’Brien, Gerald Carroll,
 Bernard Ryan, Ellen Weiss, Special
 Representative of the Estate of Michael
 Pochordo, Special Representative of the Estate
 of Robert A. McGuire, J. Redmond # 20248,
 and other as-yet unidentified current or former
 Chicago police officers,

                   Defendants.


                                           COMPLAINT

       Plaintiff, Miguel Morales, by and through his attorneys, Hughes Socol Piers Resnick &

Dym, Ltd., and complaining of Defendants City of Chicago, John Halloran, Kenneth Boudreau,

James O’Brien, Gerald Carroll, Bernard Ryan, Ellen Weiss, Special Representative of the Estate

of Michael Pochordo, Special Representative of the Estate of Robert A. McGuire, J. Redmond #

20248, and other as-yet-unidentified current or former Chicago police officers alleges as follows:

                                            Introduction

       1.        Plaintiff Miguel Morales was wrongfully convicted of a 1993 homicide that he did

not commit. He spent over 22 years in prison and lived under the cloud of a first-degree murder

conviction until his conviction was vacated and he was awarded a Certificate of Innocence.

       2.        Plaintiff’s wrongful conviction came about as a direct result of misconduct by some

of the most notoriously abusive detectives in Chicago Police Department history: John Halloran,
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Kenneth Boudreau, and James O’Brien. These and other CPD detectives worked together to

intentionally frame Plaintiff and his co-Defendants of a crime they did not commit.

                                       Jurisdiction and Venue

        3.      This is an action brought pursuant to 42 U.S.C. § 1983 and Illinois law.

        4.      This Court has jurisdiction over Plaintiff’s § 1983 claims pursuant to 28 U.S.C §

1331 and supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C § 1367.

        5.      Venue is proper in this district under 28 U.S.C. § 1391(b) because the events giving

rise to the claims asserted in this complaint occurred in this judicial district.

                                                Parties
        6.      Plaintiff Miguel Morales is a 51-year-old man who spent over 22 years in prison

for a crime he did not commit.

        7.      At all times relevant to this complaint, John Halloran, Kenneth Boudreau, James

O’Brien, Gerald Carroll, Bernard Ryan, Ellen Weiss, Michael Pochordo, Robert A. McGuire, and

J. Redmond # 20248, (hereinafter “Defendant Officers”) were Chicago Police Department

detectives acting under the color of law and within the scope of their employment for the City of

Chicago.

        8.      On information and belief, Michael Pochordo and Robert A. McGuire are deceased.

Plaintiff intends to seek appointment of Special Representatives of their Estates.

        9.      Defendant City of Chicago is an Illinois municipal corporation that employed each

of the Defendant Officers listed above.




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                                             Facts

                           The Homicide and Initial Investigation

       10.    On February 2, 1993 a 19-year-old man named Hector Olague was fatally shot

while standing in a parking lot near 50th and Pulaski Streets in Chicago, Illinois. The shooting

occurred around lunchtime near Curie High School and was witnessed by several teenagers who

were on their school lunch break.

       11.    In media accounts following the shooting, a CPD detective stated it was “mass

confusion” at the scene following the shooting.

       12.    Detectives transported 15-20 teenage witnesses from the scene to Chicago Police

Department Area 1 for questioning.

       13.    The teenage witnesses gave detectives vague descriptions of two people believed

to be the shooter and an accomplice, but detectives knew from these interviews that none of the

teenage witnesses saw the offenders well enough to be able to make an identification.

       14.    No physical evidence was obtained from the scene and no weapon was recovered.

                   Defendants Halloran and Boudreau “Solve” The Case

       15.    After more than a week passed without any leads, Defendants John Halloran and

Kenneth Boudreau decided they were going to “solve” the case, whatever it took.

       16.    During the early morning hours of February 10, 1993, Defendants Halloran and

Boudreau arrested a teenage boy named John Willer.

       17.    At the time, Willer was asleep at the home of his friend.

       18.    Halloran and Boudreau gained entry to the home, woke Willer up, and instructed

him to gather his belongings because they were taking him to Area 1.




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       19.     At Area 1, Halloran and Boudreau placed Willer in a small room where they

interrogated him for hours.

       20.     During the interrogation, Defendants told Willer that they knew Willer and three of

his friends were involved in the shooting of Hector Olague.

       21.     Halloran and Boudreau told Willer that they had received a phone call from a girl

who informed them that Willer was involved in the murder.

       22.     Halloran and Boudrau also threatened Willer that they would put him in a lineup

where they would arrange for Willer to be identified as the shooter regardless of his guilt or

innocence.

       23.     Halloran and Boudreau continually pressed Willer to make a statement implicating

himself, but Willer denied his involvement. When Willer denied his involvement or otherwise did

not tell Defendants what they wanted to hear, Defendants struck him, hitting him in the chest, arms,

and face.

       24.     During the interrogation, Halloran and Boudreau were at times joined by other

Defendant Officers or other as-yet-unidentified CPD Detectives whose identities Plaintiff cannot

determine without discovery. These other detectives observed Halloran and Boudreau’s threats and

abuse and did nothing to stop it.

       25.     As an alternative to implicating himself and his friends, Defendants presented

Willer with the option of implicating another group of boys in the crime, including Miguel

Morales. Defendants threatened that if Willer did not cooperate with them, he would get charged

with murder, but that if he did cooperate with them, he could go home. They showed Willer a photo

of Morales and fed Willer details about Morales to include in a false statement.




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       26.      After spending more than 22 hours in an interrogation room at Area 1 and being

subjected to repeated threats and physical abuse by Halloran and Boudreau, Willer’s succumbed.

He signed a false written statement that the Defendants fabricated implicating Morales.

       27.      According to Willer’s false statement, Willer had a phone call with Morales during

which Morales supposedly made a statement implicating himself (Morales) and Nicholas

Escamilla in the shooting.

       28.      Defendant Officers continued to hold Willer for hours after he made the false

statement, releasing him only after he repeated his false statement to a grand jury.

       29.      Based on Willer’s statement, Defendant Officers Halloran, Boudreau, Carrol,

O’Brien, McGuire, and Ryan went to locate and arrest Escamilla, Reyna, and Morales.

       30.      At the time, Escamilla was 20 years old, Morales was 19 years old, and Reyna was

15 years old.

       31.      After taking Escamilla, Morales, and Reyna into custody, Defendant Officers

subjected the young men to physical and mental abuse to extract false confessions from them.

       32.      Defendant Officers took Escamilla into custody on February 10, 1992. To obtain a

false confession from Escamilla, Defendant Officers held him in a small interrogation room for

hours and subjected him to intense interrogation. During the interrogation, among other

misconduct, Defendants O’Brien and Halloran struck him and threatened to arrest his wife and

take away his daughter. As a result of the Defendant Officers misconduct, Escamilla’s will was

overborne. Around 5:15am on February 11, 1992, Escamilla provided a false confession

implicating himself, Morales, and Reyna in the shooting.

       33.      Defendant Officers took Reyna into custody on the morning of February 11, 1993.

To obtain a false confession from Reyna, the Defendant Officer subjected Reyna to physical and


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mental abuse. For example, Defendants Halloran and Ryan beat and threatened Reyna, detained

him for over 12 hours, refused him access to his mother, and made false promises that he would

be able to go home. As a result of this misconduct, Reyna’s will was overborne and he provided a

statement falsely implicating himself, Escamilla, and Morales in the shooting.

          34.   Defendant Officers also took Morales into custody on the morning of February 11,

1993. To obtain a false confession from Morales, Defendant Officers placed Morales in a small

interrogation room and held him there for roughly 16 hours, told him they knew he was guilty, and

struck him repeatedly. Defendant Officers subjected Morales to similar threats and physical abuse

as Escamilla and Reyna, but Morales did not confess.

          35.   Without a false confession from Morales, Defendants needed to manufacture

additional evidence against him.

          36.   To that end, Defendant Officers went to Bogan High School, where Ralphael

Robinson was a student. Defendant Officers told Robinson they were taking him from school to

Area 1 to view a lineup.

          37.   The Defendant Officers knew that Robinson could not identify any of the

perpetrators.

          38.   On the way to the lineup, Defendant Officers showed Robinson several

photographs, including a photograph of Morales. Robinson told Defendants that he could not

identify anyone in the photographs as one of the shooters.

          39.   Even though Robinson told Defendant Officers that he could not make an

identification, they still had him view a lineup at Area 1. Robinson did not identify anyone in the

lineup.




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       40.     After Robinson viewed the lineup without making an identification, Defendant

Officers placed Robinson in holding cell that Robinson could not leave.

       41.     Defendant James O’Brien came into the cell and showed Robinson three photos.

O’Brien told Robinson “these are the guys, we know they did it,” or words to that effect.

       42.     Robinson told Defendant O’Brien he was not sure if any of the people in the photos

or in the lineup were the offenders. O’Brien responded saying, “We’re sure these are the guys.

You’re gonna be sure,” or words to that effect.

       43.     Defendant Officers returned Robinson to the lineup viewing room. Defendant

O’Brien was present along with other as-yet-unidentified Defendant Officers in the lineup room.

Each participant in the lineup was assigned a number. Defendant O’Brien squeezed Robinson by

the neck and coached him to say the number associated with Morales’s name.

       44.     The Defendant Officers proceeded to write a false police report stating that

Robinson identified Morales as one of the shooters and to falsely report to prosecutors that

Robinson identified Morales as one of the shooters.

       45.     Defendant Officers did not reveal how they induced Robinson to falsely identify

Morales in the lineup nor did they disclose that Robinson told them he could not identify Morales

as one of the shooters.

                          Plaintiff is Charged With First Degree Murder

       46.     The Defendant Officers proceeded to ask the prosecutors from the Cook County

State’s Attorney’s Office to approve first degree murder charges against Morales.

       47.     Defendant Officers did not have probable cause to cause to charge Plaintiff with

murder.




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       48.      The statements and identifications that Defendant Officers presented to prosecutors

were false and fabricated by the Defendant Officers.

       49.      Instead of giving prosecutors a truthful account of how they obtained evidence

against Morales, Defendant Officers gave prosecutors false and misleading accounts of the

evidence.

       50.      Most significantly, Defendant Officers concealed the physical abuse and other

coercive tactics they used to obtain false and fabricated statements from Willer, Escamilla, and

Reyna, and they concealed the suggestive and manipulative tactics they used to fabricate an

“identification” from Robinson.

       51.      As a result of the Detective Officers’ misconduct, Cook County prosecutors

approved first degree murder charges against Plaintiff.

       52.      Several weeks later, to shore up the thin case against Plaintiff, Defendant Officers

arranged another lineup, this time to be viewed by 15-year-old Hendricks.

       53.      The Defendant Officers knew that Hendricks could not identify any of the

perpetrators.

       54.      Nonetheless, on March 4, 1993, Hendricks viewed a lineup. At this point, more than

a month had passed since the shooting.

       55.      Although the Defendant Officers knew that Hendricks could not identify any of the

perpetrators, they knew that Hendricks had been friends with the victim and was eager to help

police. As with Robinson, Defendant Officers told Hendricks that they had the true perpetrators.

       56.      The lineup viewed by Hendricks was highly suggestive. Among other problems,

Plaintiff wore obvious jail clothing, while the other participants wore street clothes. Additionally,

the Defendants put Plaintiff and Reyna in the same lineup despite knowing that this was improper.


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       57.     On information and belief, one or more of the Defendant Officers proceeded to

testify before a grand jury, misleading the grand jury about the evidence against Plaintiff the same

way Defendant Officers misled prosecutors to induce them to approve charges.

       58.     As a result of the Detective Officers’ misconduct, a grand jury returned an

indictment against Plaintiff for first degree murder.

                                Plaintiff’s Trial and Incarceration

       59.     Plaintiff was unable to post pre-trial bond and was detained at Cook County Jail

while he awaited trial.

       60.     Plaintiff’s trial began on March 16, 1994.

       61.     The prosecution’s case rested heavily on the false and fabricated identifications of

Robinson and Hendricks, both of whom testified.

       62.     The State also called John Willer to testify against Plaintiff. Prior to trial, Willer

recanted his grand jury testimony to Morales’s public defender. At trial, Willer testified that the

only reason he gave Halloran information implicating Morales in the murder is because Halloran

and other detectives beat him, told him they believed he was involved in the murder, and threatened

to charge him with the crime.

       63.     The State impeached Willer’s trial testimony with his grand jury testimony and his

handwritten statement to Halloran. The State also offered, and the Court admitted, Willer’s

fabricated grand jury testimony as substantive evidence.

       64.     The State also called Detective Halloran to rebut Willer’s account of mistreatment

by police.

       65.     The State presented no physical evidence linking Morales to the shooting.

       66.     On March 19, 1994, the jury returned a guilty verdict against Plaintiff.


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       67.     At sentencing, Mr. Morales expressed sorrow for Mr. Olague’s family but

maintained his innocence.

       68.     The Court sentenced Mr. Morales to 45 years in prison.

       69.     Plaintiff was incarcerated continuously from his February 1993 arrest until he was

released from prison in 2015, after serving his full sentence.

       70.     Throughout his criminal sentence and even in years after it, Plaintiff steadfastly

maintained his innocence and fought to clear his name.

       71.     During that time, the Defendants continued to withhold critical evidence from

Plaintiff, including their misconduct in securing false and fabricated identifications.

       72.     On October 31, 2023, the Circuit Court of Cook County vacated Plaintiff’s

conviction, and the Cook County State’s Attorney’s Office dismissed the indictment by nolle

prosequi.

       73.     On June 12, 2024, Plaintiff was awarded a Certificate of Innocence.

                           Defendant Officers’ Pattern of Misconduct

       74.     This is not the first time Defendants Boudreau, O’Brien, and Halloran have worked

together to “close” a case; nor is it the first time in which the detectives used physical and

psychological torture to do so. Rather, as close co-workers, and often partners, these detectives

have a longstanding pattern of engaging in such misconduct. Unfortunately, none of this evidence

was presented at Morales’s trial.

       75.     In an article examining thousands of murder cases in Chicago from 1991 through

2000, The Chicago Tribune found that Chicago police detectives had been involved in a wide range

of cases that ultimately collapsed even though the detectives had obtained confessions.




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       76.       That article specifically examined inculpatory statements taken by Defendant

Boudreau. According to the Tribune’s survey, “Boudreau stands out not only for the number of his

cases [with confessions] that have fallen apart, but also for the reasons. In those cases, Boudreau

has been accused by defendants of punching, slapping or kicking them. . . . .” Maurice Posley,

Steve Mills, and Ken Armstrong, “Veteran Detective’s Murder Cases Unravel,” Chicago Tribune,

Dec. 17, 2001.

       77.       Additionally, those cases which “have fallen apart,” often involved young, Black

men—just as was the case here. Defendant Boudreau has described those men as winning “the

ghetto lottery,” because, according to him, “convicted murderers make false accusations in order

to obtain money from the City in settlements.”

       78.       Yet, at least 16 men, if not more, have had their convictions overturned

notwithstanding confessions taken by Defendant Boudreau. The number is even higher when other

Defendant Officers are also included.

       79.       As these detectives’ pattern of misconduct began to emerge, they have at times

invoked their Fifth Amendment rights when asked questions under oath about their mistreatment

of criminal suspects. When Defendants Halloran and O’Brien were questioned under oath about

their treatment of Escamilla, Morales, and Reyna, they refused to answer any questions for fear of

subjecting themselves to criminal liability.

       80.       Examples of the Defendant Officers’ misconduct include, but are not limited to:

                    a. In 1988, Halloran and a partner struck Mickey Grayer in the stomach and

                        groin with a flashlight, and punched and choked him.

                    b. Demond Weston alleged that in 1990, he was abused by Moser along with

                        Detectives Anthony Maslanka and Michael Kill while being interrogated.


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               Weston was arrested for murder after he was identified by Dwayne Macklin

               as the perpetrator. Macklin has since fully recanted his identification,

               alleging that he only gave it because of the police officers’ physical beating,

               threats and promises of a lesser sentence on an unrelated charge that

               Macklin was facing. In 2019, Weston’s conviction was vacated and the

               charges against him were dismissed.

           c. In 1990, Cortez Brown was tortured by O’Brien into confessing to two

               murders with which he had absolutely nothing to do. O’Brien, along with

               Detectives John Paladino and Anthony Maslanka, beat Brown about his

               head and body, including with a flashlight. Brown was denied food and his

               right to an attorney. During post-conviction proceedings, the court vacated

               Brown’s conviction, finding the evidence of the officers pattern of

               misconduct “staggering” and “damning.”

           d. In September 1991, Boudreau and others physically and emotionally abused

               15-year-old Anthony Jakes in order to coerce a false confession for a murder

               Jakes did not commit. During the over 16 hours Jakes was held and

               interrogated, Boudreau and others slapped, punched, and kicked Jakes,

               threatened to recruit gang members to kill his family, tried to burn Jakes

               with cigarettes, and deprived him of access to food, water, and contact with

               an attorney of family member. Jakes was convicted of the murder based on

               his false confession. In 2018 his conviction was vacated, and Jakes filed a

               federal civil rights lawsuit against Boudreau and his cohorts.




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               e. Marcus Wiggins brought a lawsuit against O’Brien, Boudreau and others

                  alleging that he was handcuffed to a wall, beaten and electroshocked while

                  being questioned with a group of youngsters in a 1991 murder case. The

                  detectives denied Wiggins’ mother access to her son, who was a 13-year-

                  old eighth grader at the time of the coerced confession. The other young

                  suspects also gave confessions, many of them after being physically beaten

                  as well. For example, Jesse Clemon and Iamari Clemon alleged that they

                  were struck about their bodies, including with fists and flashlights. Two of

                  these confessions were later thrown out on the basis of the “periodic

                  screaming [at the police station] throughout the night,” screaming that

                  O’Brien and Boudreau testified that they did not hear. All of the defendants

                  were either acquitted or had their cases nolle prosequied by the State. In

                  civil depositions in an unrelated lawsuit, O’Brien and Halloran took the

                  Fifth Amendment when asked questions about the torture of Marcus

                  Wiggins and his co-defendants.

            f. In August 1991, 15-year-old Johnny Plummer was interrogated for 36 hours

                  by Boudreau, Halloran, and other detectives. Plummer alleged that he was

                  hit in the face, stomach and side, including with a flashlight, by the

                  detectives. Halloran has taken the Fifth Amendment regarding Plummer’s

                  allegations.

          g.      In August 1991, Curtis Milsap was slapped in the face while handcuffed and

                  kicked in the testicles by O’Brien until he confessed to a double murder




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               about which he had no knowledge. Notwithstanding his confession, Milsap

               was ultimately acquitted of the murders.

           h. Also in August 1991, George Anderson was arrested for two separate

               homicides. Anderson alleged that he was tortured into giving false and

               fabricated confessions over the course of 30 hours of police custody by

               Boudreau, Halloran, O’Brien and other detectives. Following proceedings

               before the TIRC and an evidentiary hearing, an Illinois appellate court

               vacated Anderson’s convictions and remanded for retrials at which the State

               will be precluded from introducing his involuntary confessions.

           i. In 1991, Boudreau again took a false confession from an intellectually

               disabled individual, Alfonzia Neal, whose IQ was in the 40s. After being

               beaten, Neal agreed to give a confession that was patently false. Neal was

               acquitted at trial.

           j. Gregory Logan was interrogated regarding a murder in 1991 by O’Brien

               and other CPD detectives. When Logan professed his innocence, the

               detectives beat him with a bat, pushed his head against the wall and pointed

               a gun to his head. He was denied the right to an attorney.

           k. In February 1992, Arnold Day was interrogated in connection with the

               murder investigation of Rafael Garcia.        After isolating Day in an

               interrogation room for hours, Boudreau forcefully grabbed Day by the neck

               and choked him. The detectives also threatened to throw Day out the

               window. Day ultimately confessed, but was nonetheless acquitted of the

               Garcia murder after presenting compelling allegations of police torture.



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           l. In October 1992, Clayborn Smith was struck on the face and head, and

               punched in the ribs by Boudreau, Halloran and other detectives. The

               detectives also grabbed Smith’s neck, pulled his hair and yanked his finger

               back. After 37 hours of interrogation and physical torture, Smith confessed

               to a murder that he did not commit. In pending post-conviction proceedings,

               the Court barred the state from denying that Boudreau and Halloran engaged

               in a pattern of abuse between 1990 and 2001.

           m. In November 1992, Harold Hill, Dan Young and Peter Williams falsely

               confessed to rape and murder after Boudreau, O’Brien, and Halloran

               physically assaulted and psychologically coerced them. Hill was only 16

               years old at the time and could not withstand the detectives’ physical

               violence. Similarly, after being kicked and struck about his body, Dan

               Young, whose IQ was 56, also falsely confessed to a crime with which he

               had absolutely nothing to do. Indeed, even Peter Williams (who, it turned

               out, was incarcerated on an unrelated charge at the time of the rape-murder),

               falsely confessed after being chained to a radiator, hit with a blackjack and

               forced to urinate on himself. Williams was never charged; twelve years after

               their convictions, Hill and Young were exonerated when DNA evidence

               proved that they could not have been the offenders.

           n. In 1992, Kilroy Watkins was interrogated by Boudreau and Halloran.

               Watkins was choked, punched in the face, and held for over 30 hours.

               Notwithstanding his actual innocence of the crime for which he was

               convicted, Watkins gave a confession to the detectives because he could not



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               stand further physical abuse. The TIRC has subsequently referred Watkins’

               case for a hearing.

           o. In May 1993, Tyrone Hood was arrested for the murder of Marshall Morgan

               Jr. Hood was interrogated and beaten about the body by Boudreau, Halloran,

               and Ryan while he was held at the lockup at 51st and Wentworth. So too for

               the witnesses in Hood’s case, a number of whom alleged the Defendants

               physically or psychologically coerced him. Hood has been granted a

               Certificate of Innocence (“COI”), and his civil lawsuit against Defendants

               Ryan, Lenihan, Boudreau and Halloran recently settled.

           p. Hood’s co-defendant was a man named Wayne Washington. Washington

               alleged that he was held for two days. During that time, he was handcuffed,

               slapped in the face, had his chair knocked out from under him, threatened,

               and not given food or water until he agreed to give a false and fabricated

               statement inculpating himself and Hood in the murder. Washington has also

               been granted a COI, and his civil lawsuit against Defendants Ryan, Lenihan,

               Boudreau and Halloran recently settled.

           q. In 1993, Emmett White was arrested by O’Brien and Halloran. To secure

               his confession, O’Brien and Halloran slapped White on his face and struck

               White on his body. When White told the officers that he did not have

               anything to say to them and was exercising his right to remain silent, the

               detectives became infuriated. The detectives again struck White about the

               face and body, threw him on the ground and one of the officers stepped on

               his face. Although the police alleged that White confessed to the crime,



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               when asked about White’s allegations that he was beaten about the face and

               body, O’Brien and Halloran pled the Fifth Amendment.

           r. In 1993, Richard Anthony signed a false confession after spending 36 hours

               in custody with Halloran, who beat Anthony and denied him food, sleep,

               and use of the restroom.

           s. Richard Anthony’s co-defendant, Jerry Gillespie also confessed to murder

               after he was kicked and slapped about the face and body and choked during

               30 hours of interrogation by Boudreau, O’Brien and Halloran. Gillespie was

               denied the right to an attorney and threatened with further beating, including

               being burned with a cigarette, if he did not sign the statement that was

               prepared for him. Both O’Brien and Halloran have taken the Fifth

               Amendment on questions relating to Gillespie’s allegations.

           t. In December 1993, Boudreau, O’Brien and Halloran “closed” two separate

               murders by coercing confessions from two intellectually disabled

               individuals, Fred Ewing and Darnell Stokes. One expert concluded that

               Ewing was “unable to comprehend the substance of the confession which

               he allegedly made.” Absent any other evidence connecting them to the

               crime, both were acquitted notwithstanding the “confessions” obtained by

               Boudreau and O’Brien. O’Brien and Halloran both refused to answer

               questions about Ewing’s and Stoke’s allegations that they were beaten by

               O’Brien, Halloran and Boudreau when in a deposition in an unrelated civil

               suit.




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           u. In 1994, Halloran and other police officers forced Sheila Crosby and

               Michael Sardin to implicate Shondell Walker in their grand jury testimonies.

               Halloran threatened that if Crosby did not do so, he would have the

               Department of Children and Family Services take her children away from

               her. For Sardin, the detectives threatened that if he did not name Walker as

               the killer, he would be charged with the murder.

           v. In 1995, Boudreau, Halloran, and others interrogated and beat Derrick

               Flewellen until he signed a false confession. Flewellen spent almost five

               years in prison before being acquitted of the two murders based on DNA

               tests, which proved the crime was committed by someone else.

           w. In 1994, Boudreau and Halloran beat Anthony Williams into falsely

               confessing to murder and armed robbery.

           x. In August 1994, David Wright was arrested and coerced into signing a false

               confession. Wright has testified that Boudreau physically assaulted him,

               including choking him and shoving him against the wall, and that Halloran

               made a false promise of leniency. As a result, and after an extended period

               in custody, Wright signed a false confession he did not write. Following an

               evidentiary hearing, in 2022, the conviction was vacated, and the State

               dismissed all charges against Wright in 2023.

           y. In 1994, Nevest Coleman was arrested for a rape and murder he did not

               commit. Boudreau, Halloran, and other detectives set their sights on

               Coleman to “solve” the case. Coleman repeatedly denied his involvement

               in the rape and murder, which was met with punches to Coleman’s face.



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               Eventually, the officers fed Coleman details about the crime and Coleman

               falsely confessed to being a lookout. In 2016, DNA evidence exculpated

               Coleman and his co-defendant. In 2017, Coleman was exonerated and the

               state dismissed all charges

           z. In 1995, Boudreau and Halloran interrogated and coerced a confession from

               Oscar Gomez. The detectives held Gomez for 30 hours, repeatedly beat him

               while he was shackled to the wall and prevented him from communicating

               with an attorney or with his family. Despite his “confession,” Gomez was

               found not guilty. O’Brien and Halloran both took the Fifth Amendment

               when asked questions about their coercive interrogation of Gomez.

           aa. In 1995, Boudreau was part of a team of detectives who physically abused

               John Wright until he agreed to implicate Malik Taylor and Michael Taylor

               in a murder.

           bb. In 1995, Abel Quinones confessed to murder after being interrogated for 30

               hours and being repeatedly beaten by Halloran. Despite his purported

               confession, Quinones was found not guilty. Halloran has pled the Fifth

               Amendment when asked questions about the Quinones case in an unrelated

               civil deposition.

           cc. Kylin Little was a witness to a 1996 murder. When O’Brien, Halloran and

               Boudreau interrogated him, they physically and psychologically coerced

               him until he lied and implicated Eric Gibson, a man who had absolutely

               nothing to do with the crime. Since his interrogation, Little has fully

               recanted the statement he gave to the police.



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           dd. In 1996, Jeremy Allen was wrongfully charged with murder after O’Brien

               coerced two witnesses into falsely identifying Allen. Allen was ultimately

               acquitted at trial.

           ee. In February 1997, Robert Wilson falsely confessed to slashing a woman

               with a knife after being slapped and threatened by O’Brien. O’Brien

               withheld evidence from the victim that another man, one who exactly fit her

               description of the perpetrator, had slashed several persons in the same area

               at about the same time. The victim ultimately recanted her identification of

               Wilson, but not before Wilson had spent almost 10 years in jail. In a

               deposition in an unrelated civil suit, O’Brien and Halloran both took the

               Fifth Amendment when questioned about Wilson’s allegations of abuse.

           ff. After police officer Michael Ceriale was shot to death in 1998, Boudreau,

               O’Brien and Halloran arrested then-16-year-old Jonathon Tolliver at 4:00

               a.m. and interrogated him for a 24-hour period, resulting in allegedly

               incriminating oral statements. To ensure Tolliver’s conviction, Boudreau,

               O’Brien and Halloran also coerced incriminating statements from other

               witnesses by holding them in custody for extended periods of time,

               physically abusing and threatening to lodge charges against them,

               withholding food, and denying access to a parent or attorney.

           gg. In 1998, 17-year-old Antoine Anderson was interrogated by O’Brien and

               Halloran about a recent murder. The detectives hit Anderson in the face and

               chest and threatened to take away his children. As a result of this abuse, and




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               after being held for two days at the police station, Anderson falsely

               confessed to a crime he did not commit.

           hh. In 1998, Boudreau and others held Joseph Jackson in an interrogation room

               in connection with a murder investigation. When Jackson refused to

               confess, Boudreau and another detective placed a book on his chest and

               stomach and hit the book with a blackjack to avoid leaving visible marks on

               Jackson’s body. Boudreau and the detective also put a typewriter cover over

               Jackson’s head and cut off his air supply. Jackson eventually confessed to a

               murder he did not commit.

           ii. In 1998, Boudreau helped extract a murder confession from a 13-year-old

               boy with a verbal IQ of 59. The judge later ruled the boy did not have the

               mental capacity to waive his rights and threw out the confession, after which

               prosecutors dropped the charges.

           jj. Christopher Holly filed a federal civil rights lawsuit against Boudreau and

               other detectives alleging he was framed for a 1998 murder.

           kk. In May 1994, Fabian Pico was 16 years old when he gave a self-

               incriminating statement to Boudreau and another detective that was used to

               convict him of murder. When Pico moved to suppress the statement on the

               grounds that police did not allow him access to his mother, Boudreau

               claimed he had tried unsuccessfully to reach Pico’s mother by phone before

               Pico confessed; but Boudreau’s supposed attempt was not memorialized

               anywhere in his reports.




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                   ll. Richard Malek alleges that Boudreau and other detectives kept him in an

                       interrogation room for four days, depriving him of sleep, food, and access

                       to lawyers, and used violence and threats to coerce his confession. Boudreau

                       participated in this coercion as the “good cop,” uncuffing Malek and

                       providing him with a hamburger after he had been starved for an extended

                       period. When detectives falsely claimed they obtained an oral confession,

                       Malek filed a federal lawsuit against Boudreau and others.

                   mm.         In 2001, Marcellous Pittman was arrested for a murder that he did

                       not commit. During his interrogation by Halloran and O’Brien, Pittman was

                       beaten about his body and coerced into making a false confession. In 2022,

                       a court vacated Pittman’s conviction after finding his allegations credible

                       and specifically finding that Halloran and O’Brien tortured Pitman. The

                       State then dismissed all charges against Pittman.

    The City of Chicago’s Policies and Practices Caused Plaintiff’s Wrongful Conviction

       81.     The Chicago Police Department is responsible for scores of miscarriages of justice

like those the Defendant Officers inflicted on Plaintiff by virtue of its policies and practices.

       82.     Since 1986, no fewer than 70 cases have come to light in which Chicago police

officers fabricated false evidence or suppressed exculpatory evidence to convict innocent people

for serious crimes they did not commit—numerous of which involve the named Defendant

Officers.

       83.     So entrenched is this pattern and practice that an Illinois court recently prevented

the State from contesting that Defendants Halloran and Boudreau had a pattern and practice of

abusive misconduct in their investigations that they conducted between 1990 and 2001.



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       84.     These cases include many in which Chicago police officers used the same tactics

the Defendant Officers employed against Plaintiff in this case, including: (1) using physically

coercive tactics to obtain involuntary, false, and fabricated confessions; (2) fabricating witness

statements; and (3) concealing exculpatory evidence.

       85.     At all times relevant hereto, members of the Chicago Police Department, including

the Defendant Officers in this action, routinely manufactured evidence against innocent people by

coercing, manipulating, threatening, pressuring, and offering inducements to suspects and

witnesses to obtain false statements implicating innocent people, knowing full well those

statements were false. As a matter of widespread custom and practice, members of the Chicago

Police Department, including the Defendant Officers in this action, contrived false narratives that

were fed to vulnerable suspects and witnesses, who then adopted those false narratives as their

own so police could secure the wrongful conviction of innocent people.

       86.     In 2019, the Federal Bureau of Investigation and Department of Justice admitted

Chicago Police Department supervisor, Jon Burge—a supervisor for the Defendant Officers—was

aware that on numerous occasions, detectives he was supervising participated in the torture and

physical abuse of persons being questioned. One such detective was Defendant Boudreau.

       87.     Furthermore, Chicago Police Department officers systematically suppressed

exculpatory and/or impeaching material by concealing evidence that a witness was coerced,

manipulated, threatened, pressured, or offered inducements to make false statements.

       88.     The municipal policy and practice set out in the paragraphs above was recently

described in a Federal Bureau of Investigation FD-302 Report of an interview with Assistant

State’s Attorney Terence Johnson. The Report documents, among other things, that Chicago police




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detectives fed information to witnesses and coached them through court-reported and handwritten

statements, and physically abused witnesses.

        89.      At all times relevant hereto, members of the Chicago Police Department, including

the Defendant Officers in this action, systematically suppressed exculpatory and/or impeaching

material by intentionally secreting discoverable reports, memos, and other information in files that

were maintained solely at the police department and were not disclosed to other participants in the

criminal justice system. As a matter of widespread custom and practice, these clandestine files

were withheld from the State’s Attorney’s Office and from criminal defendants, and they were

routinely destroyed or hidden at the close of an investigation, rather than being maintained as part

of the official file.

        90.      Consistent with the municipal policy and practice described in the preceding

paragraphs, employees of the City of Chicago, including Defendants, concealed exculpatory

evidence from Plaintiff. On information and belief, the Defendant Officers also maintained

clandestine files that were not turned over to the prosecutor and were destroyed or hidden at the

close of the Olague investigation, including, for example, documents relating to witness

interviews.

        91.      The existence of this policy and practice of suppressing exculpatory and/or

impeaching material in clandestine files was established and corroborated in the cases of Rivera v.

City of Chicago, 12 C 4428 (N.D. Ill.), Fields v. City of Chicago, 10 C 1168 (N.D. Ill.), and Jones

v. City of Chicago, 87 C 2536 (N.D. Ill.), among others.

        92.      The policy and practice of file suppression at issue in Fields was in place from the

1980s through the 2000s, including during the commission and investigation of the Olague

homicide described above.



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       93.     Additionally, a set of clandestine street files was found in the case of Rivera v. City

of Chicago, 12 C 4428 (N.D. Ill.). Those files, which emanated from a period in the 1980s and

1990s, contained exculpatory and impeaching evidence not turned over to criminal defendants.

This means that this policy and practice was also in place during the commission and investigation

of the Olague murder.

       94.     In addition to the problems identified above, the City of Chicago and the Chicago

Police Department routinely failed to investigate cases in which Chicago police detectives

recommended charging an innocent person with a serious crime, and no Chicago police officer has

ever been disciplined as a result of his misconduct in any of those cases.

       95.     Before and during the period in which Plaintiff was falsely charged with the Olague

murder, and then later convicted of the Olague murder, the City of Chicago operated a

dysfunctional disciplinary system for Chicago police officers accused of serious misconduct. The

City’s Office of Professional Standards almost never imposed significant discipline against police

officers accused of violating civilians’ civil and constitutional rights. And the Chicago Police

disciplinary apparatus included no mechanism for identifying police officers who were repeatedly

accused of engaging in misconduct.

       96.     Indeed, in a review of 98 allegations of coerced confessions or fabricated evidence,

culled from complaints against officers assigned to Area 1 and lodged with OPS between 1989 and

1996, OPS did not sustain a single one of these allegations.

       97.     As a matter of both policy and practice, municipal policymakers and department

supervisors condoned and facilitated a code of silence with the Chicago Police Department. In

accordance with this code, officers refused to report and otherwise lied about misconduct

committed by their colleagues, including the misconduct at issue in this case.



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       98.     As a result of the City of Chicago’s established practice of not tracking and

identifying police officers who are repeatedly accused of the same kinds of serious misconduct,

failing to investigate cases in which the police are implicated in a wrongful charge or conviction,

failing to discipline officers accused of serious misconduct, and facilitating a code of silence within

the Chicago Police Department, officers (including the Defendant Officers here) have come to

believe that they may, without fear of adverse consequences, violate the civil rights of members of

the public and cause the innocent to be charged with serious crimes. As a result of these policies

and practices of the City of Chicago, members of the Chicago Police Department act with impunity

when they violate the constitutional and civil rights of citizens.

       99.     The City of Chicago and its Police Department also failed in the years before

Plaintiff’s wrongful charging and conviction to provide adequate training to Chicago Police

Detectives and other officers in the following areas, among others: (a) The need to refrain from

physical and psychological abuse of, and manipulative and coercive conduct toward, suspects and

witnesses; (b) The constitutional requirement to disclose exculpatory and impeachment evidence,

including how to identify such evidence and what steps to take when exculpatory and/or

impeachment evidence has been identified to ensure the evidence is part of the criminal

proceeding; (c) The risks of engaging in tunnel vision during investigation; (d) The need for full

disclosure, candor, and openness on the part of all officers who participate in the police disciplinary

process, both as witnesses and as accused officers; and (e) the need to report misconduct committed

by fellow officers.

       100.    The need for police officers to be trained in these areas was and remains obvious.

The City’s failure to train Chicago police officers as alleged in the preceding paragraph

proximately caused Plaintiff’s wrongful conviction and his injuries.



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         101.   The City’s failure to train, supervise, and discipline its officers, including the

Defendant Officers, condones, ratifies, and sanctions the kind of misconduct that Defendants

committed against Plaintiff in this case. Constitutional violations like those that occurred in this

case are encouraged and facilitated as a result of the City’s practices and de facto polices, as alleged

above.

         102.   The City of Chicago and final policymaking officials within the Chicago Police

Department failed to act to remedy the patterns of abuse described in the preceding paragraphs,

despite actual knowledge of the pattern of misconduct. They thereby perpetuated the unlawful

practices and ensured no action would be taken (independent of the judicial process) to remedy

Plaintiff’s ongoing injuries.

         103.   The City of Chicago’s policymakers also approved the policies and practices

described in the foregoing paragraphs and were deliberately indifferent to the violations of

constitutional rights described herein.

                                          Plaintiff’s Damages

         104.   For over 22 years, Plaintiff was forced to live in confinement and serve out a

punishment for a crime he did not commit. During his time in custody, Plaintiff lived in dangerous

and inhumane conditions that were damaging to his physical and mental health. He was also denied

the opportunity to live his life and mature into adulthood as a free person. He also lost out on

opportunities to nurture relationships and share life experiences with his loved ones. As a result of

the all the foregoing, Plaintiff has suffered tremendous damage, including physical injury,

psychological trauma, and emotional damages, all caused by the Defendant Officers’ misconduct.




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                       Count 1 – 42 U.S.C § 1983 – Due Process Violation

         105.   Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

         106.   As described more fully above, the Defendant Officers, while acting individually,

jointly, and in conspiracy with each other, as well as under color of law and within the scope of

their employment, deprived Plaintiff of his constitutional right to due process and a fair trial.

         107.   In the manner described more fully above, the Defendant Officers deliberately

withheld exculpatory and impeachment evidence from Plaintiff, his attorneys, and prosecutors,

among others, thereby misleading and misdirecting Plaintiff’s criminal prosecution.

         108.   In addition, as described more fully above, the Defendant Officers fabricated and

solicited false evidence, including statements and testimony they knew to be false, fabricated

police reports and other evidence falsely implicating Plaintiff, suborned perjury, obtained

Plaintiff’s conviction and continued prosecution using that false evidence, and failed to correct

fabricated evidence they knew to be false when it was used against Plaintiff during his criminal

trial.

         109.   The Defendant Officers concealed and fabricated additional evidence that is not yet

known to Plaintiff.

         110.   In addition, the Defendant Officers, acting individually, jointly and/or in concert

and conspiracy, used unduly suggestive identification procedures to procure a false identification

of Plaintiff that was used to deprive him of liberty.

         111.   In a manner described more fully above, the Defendant Officers individually,

jointly, and/or in concert and in conspiracy, deliberately withheld exculpatory evidence, and

destroyed and/or intentionally lost material evidence. In doing so, the Defendants violated their

clearly established duties to report all material exculpatory and impeachment information to



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prosecutors, to preserve material evidence, and to ensure the integrity of eyewitness identifications

and statements.

       112.     The destruction and/or loss of evidence was done in bad faith, and/or was done so

that Plaintiff could not present obviously exculpatory evidence at the trial.

       113.     Defendants’ misconduct directly resulted in Plaintiff’s unjust criminal prosecution

and wrongful conviction, thereby denying him his constitutional right to a fair trial guaranteed by

the Fourteenth Amendment. Absent this misconduct, Plaintiff’s prosecution would not and could

not have been pursued.

       114.     The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, with reckless indifference to the rights of others, and with

total disregard for the truth and Plaintiff’s clear innocence.

       115.     As a result of Defendants’ misconduct described in this Count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, degradation, emotional pain and suffering, and

other grievous and continuing injuries and damages as set forth above.

       116.     Plaintiff’s injuries were caused by the policies, practices, and customs of Defendant

City of Chicago in that employees and agents of the City regularly failed to disclose exculpatory

evidence to criminal defendants, fabricated false evidence implicating individuals in criminal

conduct, elicited false and coerced witness testimony, pursued wrongful convictions through

profoundly flawed investigations, and otherwise violated due process in a manner similar to that

alleged here.

       117.     The above-described widespread practices were so well-settled as to constitute de

facto policy of the City of Chicago and were allowed to exist and flourish because municipal




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policymakers with authority over the City’s policies exhibited deliberate indifference to the

problem, thereby effectively ratifying the policy.

       118.    The widespread practices described in the preceding paragraphs were also allowed

to flourish because the City of Chicago declined to implement sufficient training and any legitimate

mechanism for oversight or punishment of officers and agents who withheld material evidence,

fabricated false evidence and witness testimony, and pursued wrongful convictions.

       119.    Indeed, the Chicago Police Department’s systems for investigating and disciplining

police officers and other employees accused of the type of misconduct that affected Plaintiff was

and is, for all practical purposes, nonexistent. The Department maintained a “code of silence” that

effectively eliminated any form of accountability, discipline, or oversight.

       120.    Chicago police officers and other employees of the City of Chicago who

manufactured criminal cases against individuals like Plaintiff had every reason to know not only

that they enjoyed de facto immunity from criminal prosecution and departmental discipline, but

also that they stood to be rewarded for closing cases no matter what the cost. In this way, the City

proximately caused abuses like the Defendant Officers’ misconduct at issue in this case.

       121.    The misconduct described in this Count was undertaken pursuant to the policy and

practice of the City of Chicago in that the constitutional violations committed against Plaintiff

were committed either directly by, or with the knowledge or approval of, people with final

policymaking authority for the Chicago Police Department.

       122.    The policies, practices, and customs set forth above were the moving force behind

the numerous constitutional violations in this case and directly and proximately caused Plaintiff to

suffer the grievous and permanent injuries and damages set forth above.




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              Count 2 – 42 U.S.C § 1983 – Fourth Amendment Liberty Deprivation

       123.      Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

       124.      In the manner described more fully above, the Defendant Officers, individually,

jointly, and in conspiracy with each other, as well as under color of law and within the scope of

their employment, used fabricated evidence to accuse Plaintiff of criminal activity and detain him

without probable cause.

       125.      In so doing, the Defendant Officers caused Plaintiff to be deprived of his liberty

and detained without probable cause in violation of his rights secured by the Fourth and Fourteenth

Amendments. Specifically, Plaintiff was incarcerated from the date of his arrest continuing for

over 22 years.

       126.      The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with reckless indifference to the rights of others, and with total disregard

for the truth and Plaintiff’s clear innocence.

       127.      As a result of Defendants’ misconduct described in this Count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, degradation, emotional pain and suffering, and

other grievous and continuing injuries and damages as set forth above.

       128.      Plaintiff’s injuries were caused by the policies, practices, and customs of Defendant

City of Chicago in that employees and agents of the City regularly failed to disclose exculpatory

evidence to criminal defendants, fabricated false evidence implicating individuals in criminal

conduct, elicited false and coerced witness testimony, pursued wrongful convictions through

profoundly flawed investigations, and otherwise violated due process in a manner similar to that

alleged here.




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       129.    The above-described widespread practices were so well-settled as to constitute de

facto policy of the City of Chicago and were allowed to exist and flourish because municipal

policymakers with authority over the City’s policies exhibited deliberate indifference to the

problem, thereby effectively ratifying the policy.

       130.    The widespread practices described in the preceding paragraphs were also allowed

to flourish because the City of Chicago declined to implement sufficient training and any legitimate

mechanism for oversight or punishment of officers and agents who withheld material evidence,

fabricated false evidence and witness testimony, and pursued wrongful convictions.

       131.    Indeed, the Chicago Police Department’s systems for investigating and disciplining

police officers and other employees accused of the type of misconduct that affected Plaintiff was

and is, for all practical purposes, nonexistent. The Department maintained a “code of silence” that

effectively eliminated any form of accountability, discipline, or oversight.

       132.    Chicago police officers and other employees of the City of Chicago who

manufactured criminal cases against individuals like Plaintiff had every reason to know not only

that they enjoyed de facto immunity from criminal prosecution and departmental discipline, but

also that they stood to be rewarded for closing cases no matter what the cost. In this way, the City

proximately caused abuses like the Defendant Officers’ misconduct at issue in this case.

       133.    The misconduct described in this Count was undertaken pursuant to the policy and

practice of the City of Chicago in that the constitutional violations committed against Plaintiff

were committed either directly by, or with the knowledge or approval of, people with final

policymaking authority for the Chicago Police Department.




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         134.   The policies, practices, and customs set forth above were the moving force behind

the numerous constitutional violations in this case and directly and proximately caused Plaintiff to

suffer the grievous and permanent injuries and damages set forth above.

                          Count 3 - 42 U.S.C § 1983 - Failure to Intervene

         135.   Each paragraph of this Complaint is incorporated as if restated fully herein.

         136.   In the manner described above, by their conduct and under color of law, during the

constitutional violations described herein, one or more of the Defendant Officers stood by without

intervening to prevent the violation of Plaintiff’s constitutional rights, even though they had the

opportunity to do so.

         137.   As a direct and proximate result of this violation of his constitutional right to a fair

trial, Plaintiff suffered injuries, including but not limited to loss of liberty, psychological injury,

and emotional distress.

         138.   These Defendants had a reasonable opportunity to prevent this harm but failed to

do so.

         139.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and willful indifference to Plaintiff’s clearly established

constitutional rights.

         140.   Plaintiff’s injuries were caused by the policies, practices, and customs of Defendant

City of Chicago in that employees and agents of the City regularly failed to disclose exculpatory

evidence to criminal defendants, fabricated false evidence implicating individuals in criminal

conduct, elicited false and coerced witness testimony, pursued wrongful convictions through

profoundly flawed investigations, and otherwise violated due process in a manner similar to that

alleged here.



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       141.    The above-described widespread practices were so well-settled as to constitute de

facto policy of the City of Chicago and were allowed to exist and flourish because municipal

policymakers with authority over the City’s policies exhibited deliberate indifference to the

problem, thereby effectively ratifying the policy.

       142.    The widespread practices described in the preceding paragraphs were also allowed

to flourish because the City of Chicago declined to implement sufficient training and any legitimate

mechanism for oversight or punishment of officers and agents who withheld material evidence,

fabricated false evidence and witness testimony, and pursued wrongful convictions.

       143.    Indeed, the Chicago Police Department’s systems for investigating and disciplining

police officers and other employees accused of the type of misconduct that affected Plaintiff was

and is, for all practical purposes, nonexistent. The Department maintained a “code of silence” that

effectively eliminated any form of accountability, discipline, or oversight.

       144.    Chicago police officers and other employees of the City of Chicago who

manufactured criminal cases against individuals like Plaintiff had every reason to know not only

that they enjoyed de facto immunity from criminal prosecution and departmental discipline, but

also that they stood to be rewarded for closing cases no matter what the cost. In this way, the City

proximately caused abuses like the Defendant Officers’ misconduct at issue in this case.

       145.    The misconduct described in this Count was undertaken pursuant to the policy and

practice of the City of Chicago in that the constitutional violations committed against Plaintiff

were committed either directly by, or with the knowledge or approval of, people with final

policymaking authority for the Chicago Police Department.




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        146.    The policies, practices, and customs set forth above were the moving force behind

the numerous constitutional violations in this case and directly and proximately caused Plaintiff to

suffer the grievous and permanent injuries and damages set forth above.

          Count 4 - 42 U.S.C § 1983 - Conspiracy to Deprive Constitutional Rights

        147.    Each paragraph of this Complaint is incorporated as if restated fully herein.

        148.    In the manner described more fully above, the Defendant Officers agreed among

themselves and with other individuals to act in concert in order to deprive Plaintiff of his

constitutional rights, including his rights to due process and to a fair trial, all as described in the

various paragraphs of this Complaint.

        149.    Additionally, before and after Plaintiff’s conviction, the Defendant Officers further

conspired to deprive Plaintiff of exculpatory information to which he was lawfully entitled and

which would have led either to his not being charged, his acquittal, or his more timely exoneration.

        150.    In this manner, the Defendant Officers, acting in concert with other unknown co-

conspirators, conspired by concerted action to accomplish an unlawful purpose by unlawful means.

        151.    In furtherance of the conspiracy, each of the co-conspirators engaged in and

facilitated numerous overt acts, including but not limited to those set forth above—such as

fabricating evidence, conducting unduly suggestive lineups, withholding exculpatory evidence,

coercing false statements, and committing perjury during hearings and trials—and was an

otherwise willful participant in joint activity.

        152.    As a direct and proximate result of the illicit prior agreement and actions in

furtherance of the conspiracy referenced above, Plaintiff’s rights were violated, and he suffered

injuries, including but not limited to loss of liberty, psychological injury, and emotional distress.




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       153.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, willfulness, and deliberate indifference to Plaintiff’s rights.

Plaintiff’s injuries were caused by the policies, practices, and customs of Defendant City of

Chicago in that employees and agents of the City regularly failed to disclose exculpatory evidence

to criminal defendants, fabricated false evidence implicating individuals in criminal conduct,

elicited false and coerced witness testimony, pursued wrongful convictions through profoundly

flawed investigations, and otherwise violated due process in a manner similar to that alleged here.

       154.    The above-described widespread practices were so well-settled as to constitute de

facto policy of the City of Chicago and were allowed to exist and flourish because municipal

policymakers with authority over the City’s policies exhibited deliberate indifference to the

problem, thereby effectively ratifying the policy.

       155.    The widespread practices described in the preceding paragraphs were also allowed

to flourish because the City of Chicago declined to implement sufficient training and any legitimate

mechanism for oversight or punishment of officers and agents who withheld material evidence,

fabricated false evidence and witness testimony, and pursued wrongful convictions.

       156.    Indeed, the Chicago Police Department’s systems for investigating and disciplining

police officers and other employees accused of the type of misconduct that affected Plaintiff was

and is, for all practical purposes, nonexistent. The Department maintained a “code of silence” that

effectively eliminated any form of accountability, discipline, or oversight.

       157.    Chicago police officers and other employees of the City of Chicago who

manufactured criminal cases against individuals like Plaintiff had every reason to know not only

that they enjoyed de facto immunity from criminal prosecution and departmental discipline, but




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also that they stood to be rewarded for closing cases no matter what the cost. In this way, the City

proximately caused abuses like the Defendant Officers’ misconduct at issue in this case.

       158.    The misconduct described in this Count was undertaken pursuant to the policy and

practice of the City of Chicago in that the constitutional violations committed against Plaintiff

were committed either directly by, or with the knowledge or approval of, people with final

policymaking authority for the Chicago Police Department.

       159.    The policies, practices, and customs set forth above were the moving force behind

the numerous constitutional violations in this case and directly and proximately caused Plaintiff to

suffer the grievous and permanent injuries and damages set forth above.

                        Count 5 - 42 U.S.C. § 1983 - Municipal Liability

       160.    Each paragraph of this Complaint is incorporated as if restated fully herein.

       161.    The actions of all the individual Defendant Officers were undertaken pursuant to

policies and practices of the Department, described above, which were ratified by policymakers

for the City of Chicago with final policymaking authority. These policies and practices included

but were not limited to the failure to adequately train, supervise, and discipline officers who

engaged in the alleged constitutional violations, as set forth in greater detail above. These policies

and practices also included a practice of coercing false confessions and fabricating evidence,

particularly from young men of color to close cases as described more fully above.

       162.    The policies and practices described in this Count were maintained and

implemented by the City of Chicago with deliberate indifference to Plaintiffs' constitutional rights.

       163.    As a direct and proximate result of the City’s actions, Plaintiffs' constitutional rights

were violated and he suffered injuries and damages, as set forth in this Complaint.




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       164.    The City of Chicago is therefore liable for the misconduct committed by the

Defendant Officers.

                           Count 6 – State Law Malicious Prosecution

       165.       Each paragraph of this Complaint is incorporated as if restated fully herein.

       166.       In the manner described more fully above, the Defendant Officers accused

Plaintiff of criminal activity knowing those accusations to be without genuine probable cause,

and they made statements to prosecutors with the intent of exerting influence and to institute

and continue the judicial proceedings against Plaintiff.

       167.       Defendants caused Plaintiff to be improperly subjected to judicial proceedings

for which there was no probable cause. These judicial proceedings were instituted and continued

maliciously, resulting in injury.

       168.       Statements of Defendants regarding Plaintiff’s alleged culpability were made

with knowledge that said statements were false and perjured. Defendants also fabricated

evidence, coerced false inculpatory statements from witnesses, used unduly suggestive lineups,

and withheld exculpatory evidence that would have demonstrated Plaintiff’s innocence,

destroyed material and/or exculpatory evidence and used unduly suggestive identification

procedures.

       169.       Defendants were aware that, as described more fully above, no true or reliable

evidence implicated Plaintiff in the shooting.

       170.       Defendants intentionally withheld from and misrepresented to prosecutors

facts that further vitiated probable cause against Plaintiff, as set forth above, and failed to

investigate evidence which would have led to the actual perpetrator. Defendants withheld the

facts of their manipulation and the resulting fabrications from Plaintiff.

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       171.       The misconduct described in this Count was undertaken intentionally, with

malice, willfulness, and reckless indifference to the rights of others.

       172.       On October 31, 2023, the prosecution terminated in Plaintiff’s favor when his

conviction was vacated and all charges against him were dismissed.

       173.       On June 12, 2024, Plaintiff was awarded a Certificate of Innocence.

       174.       As a direct and proximate result of this misconduct, Plaintiff sustained injuries

as set forth above, including psychological injury, and emotional distress.

                                   Count 7 – State Law – IIED

       175.       Each paragraph of this Complaint is incorporated as if restated fully herein.

       176.       The acts and conduct of Defendants as set forth above were extreme and

outrageous. Defendants’ actions were rooted in an abuse of power or authority, and they were

undertaken with intent to cause, or were in reckless disregard of the probability that their conduct

would cause, emotional distress to Plaintiff, as is more fully alleged above.

       177.       As a direct and proximate result of the Defendant’ actions, Plaintiff suffered

and continues to suffer emotional distress.

                                Count 8 – State Law Conspiracy

       178.       Each paragraph of this Complaint is incorporated as if restated fully herein.

       179.       As described more fully in the preceding paragraphs, Defendants, acting in

concert with other known and unknown co-conspirators, conspired by concerted action to

accomplish an unlawful purpose by unlawful means.

       180.       In furtherance of the conspiracy, Defendants committed overt acts and were

otherwise willful participants in joint activity including, but not limited to, the malicious

prosecution of Plaintiff and the intentional infliction of emotional distress upon him.


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          181.      The misconduct described in this Count was undertaken intentionally, with

malice, willfulness, and reckless indifference to the rights of others.

          182.      As a direct and proximate result of Defendants’ conspiracy, Plaintiff suffered

damages, including psychological injury and emotional distress, as is more fully alleged above.

                             Count 9 – State Law Respondeat Superior
          183.      Each paragraph of this Complaint is incorporated as if restated fully herein.

          184.      In committing the acts alleged in the preceding paragraphs, each of the

Defendant Officers were members of, and agents of, the Department, acting at all relevant times

within the scope of their employment and under color of law.

          185.      Defendant City of Chicago is liable as principal for torts committed by its

agents.

                           Count 10 – State Law Claim Indemnification

          186.      Each paragraph of this complaint is incorporated as if restated fully herein.

          187.      Illinois law provides that public entities are directed to pay any tort judgment

for compensatory damages for which employees are liable within the scope of their employment

activities.

          188.      The Defendant Officers are or were employees of the Chicago Police

Department, who acted within the scope of their employment in committing the misconduct

described herein.

          189.      The City of Chicago is responsible for paying any judgment entered against

the Defendant Officers.

          190.      Plaintiff therefore demands judgment against Defendant City of Chicago in

the amounts awarded to Plaintiff against the individual Defendant Officers as damages,

attorneys’ fees, costs, and interest.

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       WHEREFORE, Plaintiff Miguel Morales respectfully requests that this Court enter

judgment in his favor and against Defendants City of Chicago, John Halloran, Kenneth Boudreau,

James O’Brien, Gerald Carroll, Bernard Ryan, Ellen Weiss, Special Representative of the Estate

of Michael Pochordo, Special Representative of the Estate of Robert A. McGuire, J. Redmond #

20248, awarding compensatory damages, interest, attorneys’ fees and costs against each Defendant,

and punitive damages against any of the individually named Defendants, as well as any other relief

this Court deems appropriate.

                                            Jury Demand

       Plaintiff Miguel Morales hereby demands a trial by a jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.


                                                            Respectfully Submitted,

                                                            MIGUEL MORALES


Dated: October 28, 2024                                     By: /s/ Elizabeth Mazur
                                                            One of Plaintiff’s Attorneys



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